    Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 1 of 89 Page ID
                                     #:20995


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11      Attorneys for plaintiffs (listing continues on following page)
12
                                    UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
        JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                        )
                 Plaintiffs,                              )
16      - vs -                                            )   [REDACTED] EXHIBITS IN
17                                                        )
                                                              SUPPORT OF PLAINTIFFS’
        JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18      OF THE UNITED STATES, et al.,                     )   RESPONSE TO DEFENDANTS’
                                                          )   FIRST JUVENILE COORDINATOR
19               Defendants.                              )   REPORTS VOLUME 3 OF 12 [FILED
20
                                                          )   UNDER SEAL PURSUANT TO
                                                              ORDER OF THE COURT DATED
21                                                            JULY 16, 2018]
22
                                                              [HON. DOLLY M. GEE]
23
                                                              Hearing: July 27, 2018
24                                                            Time: 10 AM
25

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    Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 2 of 89 Page ID
                                     #:20996

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Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 3 of 89 Page ID
                                 #:20997
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 4 of 89 Page ID
                                 #:20998
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 5 of 89 Page ID
                                 #:20999
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 6 of 89 Page ID
                                 #:21000
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 7 of 89 Page ID
                                 #:21001
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 8 of 89 Page ID
                                 #:21002
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 9 of 89 Page ID
                                 #:21003
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 10 of 89 Page ID
                                 #:21004
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 11 of 89 Page ID
                                 #:21005




                          Exhibit 12
                                                                         224
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 12 of 89 Page ID
                                 #:21006




                                                                         225
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 13 of 89 Page ID
                                 #:21007




                                                                         226
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 14 of 89 Page ID
                                 #:21008




                                                                         227
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 15 of 89 Page ID
                                 #:21009




                                                                         228
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 16 of 89 Page ID
                                 #:21010




                          Exhibit 13
                                                                         229
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 17 of 89 Page ID
                                 #:21011




                                                                         230
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 18 of 89 Page ID
                                 #:21012




                                                                         231
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 19 of 89 Page ID
                                 #:21013




                                                                         232
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 20 of 89 Page ID
                                 #:21014




                          Exhibit 14
                                                                         233
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 21 of 89 Page ID
                                 #:21015




                                                                         234
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 22 of 89 Page ID
                                 #:21016




                                                                         235
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 23 of 89 Page ID
                                 #:21017




                                                                         236
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 24 of 89 Page ID
                                 #:21018




                                                                         237
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 25 of 89 Page ID
                                 #:21019




                                                                         238
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 26 of 89 Page ID
                                 #:21020




                                                                         239
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 27 of 89 Page ID
                                 #:21021




                                                                         240
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 28 of 89 Page ID
                                 #:21022




                                                                         241
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 29 of 89 Page ID
                                 #:21023




                          Exhibit 15
                                                                         242
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 30 of 89 Page ID
                                 #:21024




                                                                         243
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 31 of 89 Page ID
                                 #:21025




                                                                         244
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 32 of 89 Page ID
                                 #:21026




                                                                         245
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 33 of 89 Page ID
                                 #:21027




                          Exhibit 16
                                                                         246
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 34 of 89 Page ID
                                 #:21028




                                                                         247
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 35 of 89 Page ID
                                 #:21029




                                                                         248
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 36 of 89 Page ID
                                 #:21030




                                                                         249
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 37 of 89 Page ID
                                 #:21031




                          Exhibit 18
                                                                         250
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 38 of 89 Page ID
                                 #:21032




                                                                         251
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 39 of 89 Page ID
                                 #:21033




                                                                         252
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 40 of 89 Page ID
                                 #:21034




                                                                         253
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 41 of 89 Page ID
                                 #:21035




                          Exhibit 19
                                                                         254
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 42 of 89 Page ID
                                 #:21036




                                                                         255
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 43 of 89 Page ID
                                 #:21037




                                                                         256
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 44 of 89 Page ID
                                 #:21038




                          Exhibit 20
                                                                         257
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 45 of 89 Page ID
                                 #:21039




                                                                         258
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 46 of 89 Page ID
                                 #:21040




                                                                         259
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 47 of 89 Page ID
                                 #:21041




                                                                         260
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 48 of 89 Page ID
                                 #:21042




                                                                         261
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 49 of 89 Page ID
                                 #:21043




                          Exhibit 21
                                                                         262
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 50 of 89 Page ID
                                 #:21044




                                                                         263
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 51 of 89 Page ID
                                 #:21045




                                                                         264
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 52 of 89 Page ID
                                 #:21046




                          Exhibit 22
                                                                         265
     Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 53 of 89 Page ID
                                      #:21047
                                                 Declaration o
                                  Fatima O

       I, Fatima O                                 , declare under penalty of perjury that the following is true
and correct to the best of my knowledge and recollection.

   1. My date of birth is 26 Feb 1991. My daughter's name is                                          She is 8
      years old and was born on 2 April 2006. My daughter and I are from Honduras.

   2. I left Honduras because my ex-husband was stalking me.

   3. We presented ourselves at the border about May 15, 2018. I believe that it was on or about 12:00 PM.
      We were taken to the "dog cage" for five days. In the "dog cage," people were to sleep on mats that
      were two inches thick on the floor. Several babies were crying. There was no access to showers. The
      food was one burrito for breakfast, one burrito for lunch, and bread with a spread for dinner. On the
      second or third day there, my daughter soiled herself from peeing and pooping and wanted to wash her
      private parts. She was used to cleaning her private parts every day. I asked ifl could clean her because
      her underwear were soiled. The guards said, "No." They said that they only have 10 showers. She
      remained in her dirty underwear until we arrived at Dilley several days later. We were not able to sleep
      at the "dog cage."

  4. The food was one burrito for breakfast, one burrito for lunch, and bread with a spread for dinner. At the
     "cold place" there was only bread there for eating.

  5. In both places it was very, very cold. It was extremely cold in the "cold place."

  6. Lights were on all the time and were never turned off, even in the night. It made it very hard to sleep.

  7. After 5 days, my daughter and I were taken to another place where we were held for 1 day.

  8. In the "cold place" there was only white bread with spread to eat. There was again no access to showers.
     People had to sleep on the floor without anything underneath. For blankets we had aluminum blankets. It
     was very cold.


  9. I did not have legal notice until arriving to facility in Dilley. On the first day arriving to Dilley my
     daughter had a very bad fever and I took her to get medical help. They said that I would have to come
     back the next day or day after and that I should just put a rag on her head and that they could not help
     me that day. The next day I was able to get her to the medical professionals.

  10. My daughter and I were taken out of that facility on or around May 20, 2018.

  11. My daughter and I have been at the Dilley location for about 38 days. We are planning to wait to see
      what happens with the attorney to see ifwe have to be deported back or not. We do not know what will
      happen. My daughter has had to talk a lot in the court but she does not like to and asks "Mom can I
      please stop?''
                                                 Page 1 of3

                                                                                                       266
     Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 54 of 89 Page ID
                                      #:21048

    12. I am unaware of current status and keeps waiting to hear back about case status.

I, Fatima O         swear under penalty of perjury that the above declaration is true and complete to the best of
my abilities. This declaration was provided in Spanish, a language in which I am fluent, and was read back to
me in Spanish.



                                                              .2. B- o(p_ l   B
                                                            Date




                                                  Page 2 of3
                                                                                                       267
       Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 55 of 89 Page ID
                                            #:21049
                                   Certificate of Translation


           ·eff certify that I am fluent in English and Spanish and that I read the above declaration to Fatima
           Spa h




Willamette University Clinical Law Program
245 Winter Street SE
Salem, OR 97302



Date




                                                   Pagel of2

                                                                                                        268
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 56 of 89 Page ID
                                 #:21050




                          Exhibit 23
                                                                         269
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 57 of 89 Page ID
                                 #:21051




                                                                         270
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 58 of 89 Page ID
                                 #:21052




                                                                         271
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 59 of 89 Page ID
                                 #:21053




                          Exhibit 24
                                                                         272
    Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 60 of 89 Page ID
                                      #:21054
                                    Declaration of
                            Doris M


        I, Doris M                              declare under penalty of perjury that the following is true and
correct to the best of my knowledge and recollection.

   1. My date of birth is June 5th, 1976. My son's name is                         He is two and a half
       years old and was born on November 18 th , 2015. My son and I are from Honduras.

   2. We presented ourselves at the border about May 19, 2018. At first we stayed at the cold facility. We
      stayed there for 8 days. It was very cold like a freezer. My child and I had to sleep on the floor. We all
      had to sleep very close to each other and it was difficult to sleep. I was only able to take one shower
      with my son in the 8 days that we were there. They gave us toothbrushes and toothpaste.

   3. At this place we were only given one sandwich for the morning, one for the middle of the day, and one
      at night. There was not regular water to drink.

   4. It was very cold. It was like a freezer.

   5. The lights were on all of the time. In the middle of the night the lights were kept on.

   6. After 8 days, my son and I were taken to another place where we were held for 9 days in the place they
       call the dog cage.

   7. They had bottles of water and burritos for the morning and middle of the day and a sandwich at night. It
      was very cold and they only gave us small blankets out of aluminum. We again had to sleep on the floor
      on very small mats. We both could not sleep because it was so cold. We had to keep moving our bodies.
      My son became very sick at this place and had a fever and was vomiting. He was vomiting for 4 days. In
      "La Perrera," they gave him medicine to stop the vomiting. After he took the medicine, he stopped
      vomiting.

   8. My son and I were never given any documentation regarding the law or my legal rights. I was able to
      speak to a lawyer once I arrived to the place in Dilley.

   9. My son and I were taken out of that facility on May 26, 2018.

   10. My son and I have been at the current location in Dilley for about 32 days. I was told that I am not able
       to stay, but my son is able to stay. My plan is to wait longer to see if I can stay. I do not know what to
       do.

   11. The lawyers tell me that for my case I can try to wait to see what happens. It is not certain if I will be
       able to stay.




                                                   Page 1 of 3

                                                                                                           273
      Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 61 of 89 Page ID
I, Doris M        swear under penalty of perjury that #:21055
                                                      the above declaration is true and complete to the best of my
abilities. This declaration was provided in Spanish, a language in which I am fluent, and was read back to me in
Spanish.




                                                            Date




                                                  Page 2 ofJ

                                                                                                       274
       Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 62 of 89 Page ID
                                            #:21056
                                   Certificate of Translation


I, Amber Rieff, certify that I am fluent in English and Spanish and that I read the above declaration to Doris
M      in Spanish.




Willamette University
245 Winter Street SE
Salem, OR 97302




Date




                                                  Page 3 of3

                                                                                                        275
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 63 of 89 Page ID
                                 #:21057




                          Exhibit 25
                                                                         276
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 64 of 89 Page ID
                                 #:21058




                                                                         277
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 65 of 89 Page ID
                                 #:21059




                                                                         278
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 66 of 89 Page ID
                                 #:21060




                                                                         279
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 67 of 89 Page ID
                                 #:21061


                                    Certificate of Translation

 I, Michelle Brané, am fluent in the English and Spanish languages and I certify under penalty of
 perjury of the laws of the United States that I read the above statement back to _Karen
 B                          who verified that it was true and correct.




 _____                      ___________________
 Michelle Brané
 Women’s Refugee Commission
 1012 M Street, Suite 1100
 Washington DC, 20005
 (202) 750 – 8596

 McAllen, Texas




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Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 68 of 89 Page ID
                                 #:21062




                          Exhibit 26
                                                                         281
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 69 of 89 Page ID
                                 #:21063




                                                                         282
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 70 of 89 Page ID
                                 #:21064




                                                                         283
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 71 of 89 Page ID
                                 #:21065




                                                                         284
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 72 of 89 Page ID
                                 #:21066




                          Exhibit 27
                                                                         285
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 73 of 89 Page ID
                                 #:21067




                                                                         286
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 74 of 89 Page ID
                                 #:21068




                                                                         287
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 75 of 89 Page ID
                                 #:21069




                                                                         288
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 76 of 89 Page ID
                                 #:21070




                          Exhibit 28
                                                                         289
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 77 of 89 Page ID
                                 #:21071




                                                                         290
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 78 of 89 Page ID
                                 #:21072




                                                                         291
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 79 of 89 Page ID
                                 #:21073




                                                                         292
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 80 of 89 Page ID
                                 #:21074




                          Exhibit 29
                                                                         293
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 81 of 89 Page ID
                                 #:21075




                                                                         294
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 82 of 89 Page ID
                                 #:21076




                                                                         295
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 83 of 89 Page ID
                                 #:21077




                                                                         296
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 84 of 89 Page ID
                                 #:21078


                                    Certificate of Translation

 I, Michelle Brané, am fluent in the English and Spanish languages and I certify under penalty of
 perjury of the laws of the United States that I read the above statement back to _Dinora
 C               _, who verified that it was true and correct.




 _____                      ___________________
 Michelle Brané
 Women’s Refugee Commission
 1012 M Street, Suite 1100
 Washington DC, 20005
 (202) 750 – 8596

 McAllen, Texas




                                                                                               297
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 85 of 89 Page ID
                                 #:21079




                          Exhibit 30
                                                                         298
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 86 of 89 Page ID
                                 #:21080




                                                                         299
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 87 of 89 Page ID
                                 #:21081




                                                                         300
Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 88 of 89 Page ID
                                 #:21082




                                                                         301
    Case 2:85-cv-04544-DMG-AGR Document 462-3 Filed 07/19/18 Page 89 of 89 Page ID
                                     #:21083

                                        CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7             On July 19, 2018, I electronically filed the following document(s):
8
           • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9            DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10           3 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
             COURT DATED JULY 16, 2018]
11

12      with the United States District Court, Central District of California by using the
13      CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
        served by the CM/ECF system.
15

16                                                   /s/Peter Schey
17                                                   Attorney for Plaintiffs

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